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              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Mark Burnett, being duly sworn, declare and state as

follows:

                              INTRODUCTION

        1.   I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”), and have been so employed since January

2006.    I am currently assigned to the Los Angeles Office, Orange

County Resident Agency.     I investigate, among other things,

child pornography and child sexual exploitation crimes in the

Central District of California.       I received training in the

investigation of crimes against children during my attendance at

the FBI Academy in Quantico, Virginia.        In addition, I have

participated in numerous investigations of criminal activity,

including the investigation of crimes against children and

cybercrimes.    During the investigation of these cases, I have

executed, and participated in the execution of, numerous search

warrants and have seized evidence of violations of the United

States Code.    I have interviewed numerous subjects of child

pornography and child exploitation crimes.        I have also reviewed

numerous examples of child pornography (as defined in 18 U.S.C.

§ 2256) in all forms of media, including computer media.

Moreover, I am a federal law enforcement officer engaged in

enforcing criminal laws, including 18 U.S.C. §§ 2252 and 2252A,

and I am authorized by law to request a search warrant.

                         PURPOSE OF AFFIDAVIT

        2.   This affidavit is made in support of a criminal

complaint and arrest warrant for JOSHUA DANIEL PRIEST

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(“PRIEST”), also known as “Joshua Daniel Priest-Peltier” and

“Joshua Daniel Peltier,” for a violation of 18 U.S.C.

§ 922(g)(1): Felon in Possession of Firearm and Ammunition.

     3.    The facts set forth in this affidavit are based upon

my review of the law enforcement reports and other records

referenced herein, what I have been told by other law

enforcement agents, and my training and experience.          This

affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and does not purport

to set forth all of my knowledge of or investigation into this

matter.   Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                             PROBABLE CAUSE

     4.    I have reviewed the Incident/Investigation Report of

Officer M. Luu of the Costa Mesa Police Department (“CMPD”),

Case #22-001748, regarding the investigation that led to the

arrest of JOSHUA DANIEL PRIEST on January 31, 2022 for narcotics

and firearm violations.     I have also reviewed certain other law

enforcement reports referenced herein (including, e.g.,

supplemental reports attached to Officer Luu’s report), and

PRIEST’s rap sheet and court records regarding certain of the

prior felony convictions referenced herein.         Based on this

review, I have learned the following facts:




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A.   January 31, 2022: CMPD’s Response to Suspicious Person Call

     and Investigation of PRIEST

     5.    On January 31, 2022, at approximately 8:30 p.m., the

CMPD received a call regarding a suspicious person in a vehicle

at an apartment complex in Costa Mesa, CA.        The caller

(“CALLER”) reported that a person identified as Joshua Priest-

Peltier (PRIEST), had been threatening another person associated

with the CALLER via text message.       According to the CALLER,

PRIEST was currently sitting in his vehicle inside the parking

lot of the CALLER’s gated apartment complex.         The CALLER

described PRIEST’s vehicle as a black colored 4-door Trailblazer

with black colored rims.     The plate was provided as #7RBJJRB or

similar.   As Officer Luu drove to the location, CMPD Officer S.

Moore provided him with the vehicle’s correct license plate

(#7RPJ388) from a previous CMPD contact.

     6.    The CALLER indicated, in substance, that PRIEST was

there because of a recent interpersonal conflict and this was

the second time PRIEST was on the property at the apartment

complex.

     7.    As he drove to the location, Officer Luu performed a

local records check of PRIEST and learned that PRIEST, who has

an alias of “Wreckless,” had an extensive history with CMPD and

was documented as a gang member from “White Aryan Resistance,”

also referred to as “WAR.”      Officer Luu’s report notes that the

White Aryan Resistance is a white supremacist Neo-Nazi

organization.



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       8.    Officer Luu’s report notes that CMPD had a prior jail

booking photograph of PRIEST.      Officer Luu noted that in the

photograph, PRIEST has a small star tattooed under his right

eye.

       9.    A further records check by Officer Luu showed PRIEST

was on state parole, and CMPD Communications confirmed that

PRIEST was still currently on parole, with an expiration date of

December 23, 2022.

       1.    Officers Located and Detained PRIEST

       10.   Upon arriving on scene, Officer Luu drove south

towards the rear of the complex, and Officer Gallardo drove into

the parking lot and headed eastbound.        As Officer Luu drove

around the parking lot and back towards the entrance gate, he

saw that Officer Gallardo had activated his patrol vehicle’s

spot-light at a male subject walking towards his patrol vehicle.

As Officer Luu drove up towards the male subject and he glanced

back, Officer Luu noticed a small star tattoo under his right

eye and immediately recognized the subject to be PRIEST.

       11.   Officer Luu also noticed that PRIEST’s shoes were tied

with red shoelaces.     Based on his training and experience,

Officer Luu knows that white supremacist gang members commonly

use red shoelaces to indicate that they have committed a violent

act or shed blood on behalf of the gang or the skinhead

movement.

       12.   Officer Luu asked if PRIEST was still on parole.

PRIEST replied, “Yeah.”     When asked if he had anything illegal

on his person, PRIEST could not answer directly and just noted

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that the officers “caught [him] off guard.”         PRIEST also could

not answer directly when asked about his parole search-and-

seizure terms.     Officer Luu notes, PRIEST was also defensive and

slow to respond when asked why he was at the apartment complex.

When Officer Luu confronted PRIEST about the fact that he did

not live at the complex, PRIEST confirmed that he did not.

However, PRIEST said his girlfriend lived at the apartment

complex, and they were going through problems and in a dispute

over property.    PRIEST told the officers that a friend had

dropped him off at the location.

     13.    Due to the nature of the call (i.e., PRIEST’s

reported threats to the person associated with the CALLER) and

PRIEST’s parole status and odd, fidgety behavior, Officer Luu

placed PRIEST in handcuffs.      Officer Luu told PRIEST that he was

not under arrest at that time, but was being detained during the

investigation.    When asked if he understood that, PRIEST

confirmed he did.

     14.   Officer Gallardo confronted PRIEST about his claim

that a friend dropped him off at the apartment complex.           PRIEST

was defensive and maintained his story about being dropped off

at the location.    Officer Luu noticed that a black Chevy

Trailblazer with black rims noted by the caller was parked just

20 feet away from where PRIEST had been detained. Officer Luu

noticed the license plate on the vehicle also matched the

license plate to PRIEST’s vehicle that was found on a previous

call-for-service.



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     15.    Officer Luu states that he performed a records check

of the license plate with CMPD Communications, which advised

Officer Luu that the vehicle was registered to PRIEST.

     2.     Officers Discover Firearm & Ammunition in PRIEST’s

            Vehicle

     16.    Officer Luu approached PRIEST’s Trailblazer and looked

through the window at the area around the driver’s seat.           In

plain view from outside of the car, Officer Luu saw a pile of

items on the driver’s seat, and a handgun was partially visible

underneath the other items.      Specifically, Officer Luu was able

to see about two inches of the handgun’s muzzle and the front

sight.    There was no orange tip on the front to indicate the gun

was fake.   Officer Luu also noted that the vehicle was unlocked.

     17.    Based on his discovery of the firearm and PRIEST’s

parole status, Officer Luu conducted a search of PRIEST’s

person.    During the search, Officer Luu asked PRIEST why he had

a gun in his vehicle.     PRIEST said it was not a gun and refused

to talk about it.     Officer Luu asked PRIEST if he could search

PRIEST’s vehicle.     PRIEST said it was not his vehicle.        When

asked if he had his vehicle keys on his person, PRIEST said he

did not, noting that his “dumbass” ex-girlfriend had the keys.

He reiterated that he was there to sort out a property dispute

with his ex-girlfriend.     Officer Luu did not find a key to the

vehicle in his search of PRIEST’s person.

     18.    Based on his discovery of a firearm in plain view in a

parolee’s unlocked vehicle, the fact that PRIEST was on parole

with search and seizure terms, and the CALLER’s report that

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PRIEST was previously seated in the vehicle and had previously

threatened a person associated with CALLER, Officer Luu opened

PRIEST’s vehicle to take possession of the handgun.          Officer Luu

noted, the gun was covered (partially) with several bags, as if

as if someone was quickly attempting to conceal it from view.

     19.     A report by Detective J. Smith, who searched the

vehicle, describes the firearm as a Springfield Model XDS 9mm

semi-automatic handgun, bearing serial number S3949572.

     20.     Officer Luu found the firearm was loaded with a

magazine that had five rounds of 9mm ammunition in it, and one

round of 9mm ammunition was in the gun’s firing chamber.           A

records check on the handgun confirmed that it was stolen during

a recent residential burglary of a residence in Placentia, CA in

December 2021.    (In a later phone call with CMPD Detective J.

Smith, and reported by Detective J. Smith, the registered owner

of the handgun confirmed that the gun was stolen from his house

in December 2021; he does not know PRIEST; and PRIEST did not

have permission to possess his property.)

     21.     Officer Moore stood by the firearm as Officer Luu

returned to PRIEST and questioned him about the gun.          When

Officer Luu asked if PRIEST could talk to him about the gun,

PRIEST replied, “I can’t” and further refused to speak to any

officers present at the scene about the gun or about what was

happening.

     22.     Officer Gallardo canvassed the area where he had

initially observed PRIEST.      PRIEST had been seen walking in the

bushes approximately 15 feet away from his vehicle.          There,


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Officer Gallardo located the vehicle keys hidden in the bushes

by an air-conditioning unit.      It was the keys PRIEST had claimed

his ex-girlfriend had.     Officer Gallardo pressed a button on the

key fob, and it unlocked and locked PRIEST’s vehicle, confirming

it belonged to the vehicle.

     23.   Based on the forgoing facts -- namely, the discovery

of the unsecured, loaded, and stolen firearm in PRIEST’s

vehicle, PRIEST’s criminal history and convictions making him a

felon, in addition to his parole terms prohibiting him to be in

possession of such firearm and ammunition, Officer Luu placed

PRIEST under arrest for violations of Cal. Penal Code

§ 25850(c)(1) (Felon in Possession of a Firearm), Cal. Penal

Code § 25850(c)(2) (Carrying a Stolen Loaded Firearm), and Cal.

Penal Code § 30305(a)(1) (Possession of Ammunition by a Felon).

     3.    Officers Discover Controlled Substances, Indicia of

           Drug Sales, and Other Evidence in PREIST’s Vehicle

     24.   CMPD Officers searched PRIEST’s vehicle.         The search

of PRIEST’s vehicle led to the discovery of the following

evidence of drug-trafficking: (1) multiple baggies of a white-

colored, chalky substance believed to be Fentanyl; (2) two

digital scales; (3) numerous loose rubber bands similar to those

used to bind the baggies that contained the Fentanyl; (4)

numerous empty plastic baggies.       Based on Officer Luu’s training

and experience, he determined that this evidence was indicative

of drug sales.

     25.   In addition to the drug-related evidence, officers

found that PRIEST’s vehicle also contained the following items:

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(1) a bag containing bolt cutters, pry bars, hammers, and latex

gloves, which Officer Luu believed to be burglary tools; (2) a

collapsible baton; (3) pepper spray; (4) a driver’s license of

another person, who, in a later interview with Detective Smith,

confirmed it was stolen and that PRIEST was not authorized to

possess it; (5) an EBT card in the name of another person;

(6) two counterfeit $100 bills; and (7) a notebook containing

what appear to be credit card account numbers, passwords, and

PIN.

       26.   During the process of booking the seized evidence,

Officer Luu also found a debit/credit card with the letters

“SWP” on it.    Based on his training and experience, Officer Luu

notes that “SWP” usually refers to “Supreme White Power,” a

common reference made by white-supremacist gang members.

Officer Luu noted that there were also two lightning bolts

resembling two “S” on the front cover of the card, another

symbol used by white-supremacist gang members or Neo-Nazi’s as a

reference to the Schutzstaffel or “SS.”        Along with the

lightning bolts, was “$recklessjay88.”        PRIEST’s name (Josh

Priest) was on the back of the card.

       4.    Lab Results from Orange County Crime Lab

       27.   I have reviewed a February 17, 2022 lab report from

the Orange County Crime Lab (“OCCL”) regarding drug evidence

relating to CMPD Case #22-01748, that is, the arrest of PRIEST

on January 31, 2022.     The OCCL report indicates, among other

things, that the seized drug evidence included: (1) a substance



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containing methamphetamine; and (2) a substance containing

Fentanyl.

B.   Defendant’s Criminal History

     28.    I have reviewed PRIEST’S criminal history record

(i.e., rap sheet) and certain state court records.          Based on

that review, I am informed that PRIEST has multiple prior felony

convictions, including, without limitation, the following:

            a.   Transportation of Controlled Substance for Sale,

in violation of California Health & Safety Code Section

11379(a), and Possession of Controlled Substance for Sale, in

violation of California Health & Safety Code Section 11378, in

the Superior Court for the State of California, County of

Orange, Case No. 17CF0787, on or about June 26, 2018;

            b.   Possession of Controlled Substance for Sale, in

violation of California Health & Safety Code Section 11351, and

Possession of Controlled Substance for Sale, in violation of

California Health & Safety Code Section 11378, in the Superior

Court for the State of California, County of Orange, Case No.

17WF2671, on or about June 26, 2018;

            c.   Possession of Controlled Substance for Sale, in

violation of California Health & Safety Code Section 11351, and

Sale or Transportation of Controlled Substance, in violation of

California Health & Safety Code Section 11352(a), in the

Superior Court for the State of California, County of Orange,

Case No. 19WF1351, on or about June 18, 2020;

            d.   Possession of Controlled Substance for Sale, in

violation of California Health & Safety Code Section 11351, and

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Possession of Controlled Substance for Sale, in violation of

California Health & Safety Code Section 11378, in the Superior

Court for the State of California, County of Orange, Case No.

19WF2633, on or about June 18, 2020; and

            e.   First Degree Residential Burglary, in violation

of California Penal Code Sections 459-460(a), and Possession of

Controlled Substance with Firearm, in violation of California

Health & Safety Code Section 11370.1(a), in the Superior Court

for the State of California, County of Orange, Case No.

20CF0725, on or about June 18, 2020.

C.   Interstate Nexus

     29.    I have reviewed the February 18, 2022 report of FBI

Special Agent Trevor Twitchell, who is qualified to do

interstate nexus determinations regarding firearms and

ammunition, regarding his examination of the firearm and

ammunition that the CMPD seized from PRIEST’s vehicle on January

31, 2022.   Based on that examination, Agent Twitchell made the

following findings:

            a.   The firearm is a Springfield Armory, Model XDS-9,

9mm caliber pistol, bearing serial number S3949572.          The pistol

is a “firearm,” as defined in Title 18, United States Code,

Chapter 44, Section 921(a)(3).      The pistol was manufactured by

Springfield Armory in either Illinois or internationally, not in

the State of California.     Therefore, because it was recovered by

police in California, the pistol must have been shipped or

transported in interstate and/or foreign commerce.



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           b.    As to the ammunition, four rounds of 9mm caliber

ammunition, with a headstamp “9mm + P CBC,” were manufactured by

CBC Global Ammunition internationally, and two rounds of 9mm

caliber ammunition, with the headstamp “R-P 9mm LUGER,” were

manufactured by Remington in either Arkansas or Connecticut.

The ammunition was not manufactured in the State of California.

Therefore, because all of the rounds of ammunition were

recovered in California, they must have been shipped or

transported in interstate or foreign commerce.

           c.    Therefore, the firearm and ammunition traveled in

or affected interstate commerce and/or foreign commerce.

                               CONCLUSION
     30.   Based on the foregoing facts, I submit that there is

probable cause to believe that JOSHUA DANIEL PRIEST has

committed a violation of 18 U.S.C. § 922(g)(1): Felon in

Possession of Firearm and Ammunition.


                                              /s/
                                         MARK BURNETT
                                         FBI, Special Agent

Attested to by the applicant
via telephone in accordance
with the requirements of Fed.
R. Crim. P. 4.1 on this day,
March ___,
      14   2022.

 DOUGLAS F. McCORMICK
    DOUGLAS F. McCORMICK
UNITED STATES MAGISTRATE JUDGE




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